EXHIBIT #7
March 29, 2022

Jennifer R. Ecklund
Thomposon Coburn LLP
2100 Ross Avenue, Suite 3200
Dallas, Texas 75201

Dear Ms. Ecklund:

I write in response to your letter of March 24, 2022. The letters that I sent to your clients on
March 18, 2022, were sent in my capacity as a Texas State Representative. Your clients are com-
mitting criminal acts under article 4512.2 of the Revised Civil Statutes and they must immediately
halt their criminal conduct.

Your letter falsely claims that article 4512.2 was “struck down” by the Supreme Court in Roe v.
Wade, 410 U.S. 113 (1973). Courts do not have the ability or the authority to “strike down” or
formally revoke statutes when pronouncing them unconstitutional. The Supreme Court of the
United States and the Supreme Court of Texas have made this abundantly clear. See Whole
Woman’s Health v. Jackson, 141 S. Ct. 2494, 2495 (2021) (“[F]ederal courts enjoy the power to
enjoin individuals tasked with enforcing laws, not the laws themselves.”); Pidgeon v. Turner, 538
S.W.3d 73, 88 n.21 (Tex. 2017) (“We note that neither the Supreme Court in Obergefell nor the
Fifth Circuit in De Leon ‘struck down’ any Texas law. When a court declares a law unconstitu-
tional, the law remains in place unless and until the body that enacted it repeals it”). More im-
portantly, the severability provisions of Texas law allow the state’s pre-Roe abortion statutes to be
enforced in situations that do not violate the constitutional rights of abortion patients. See Tex.
Gov’t Code § 311.032(c); Tex. Gov’t Code § 311.036(c). So article 4512.2 remains fully en-
forceable against abortion funds that pay for abortions performed in Texas, as well as their donors.

If you are advising your clients that they may continue flouting article 4512.2 with impunity, then
you are committing legal malpractice and exposing yourself and your law firm to criminal sanctions
and professional discipline. And if you and your clients want to adhere to your delusional belief
that article 4512.2 no longer exists as the law of Texas, then we welcome the opportunity to have
the judiciary set you straight.

Sincerely,




Briscoe Cain
Texas State Representative
House District 128
